                                                                          FILED: August 30, 2019

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                              No. 19-4607
                                     (4:18-cr-00011-MFU-RSB-1)
                                     (4:18-cr-00011-MFU-RSB-2)
                                     (4:18-cr-00011-MFU-RSB-3)
                                     (4:18-cr-00011-MFU-RSB-4)
                                     (4:18-cr-00011-MFU-RSB-5)
                                     (4:18-cr-00011-MFU-RSB-6)
                                     (4:18-cr-00011-MFU-RSB-8)
                                    (4:18-cr-00011-MFU-RSB-10)
                                        ___________________

  UNITED STATES OF AMERICA

                Plaintiff - Appellant

  v.

  MARCUS JAY DAVIS, a/k/a Sticcs; KEVIN LAMONT TRENT, JR., a/k/a Bad Ass, a/k/a
  Gates, a/k/a SixOwe; KANAS LAMONT'E TRENT, a/k/a LA; DESHAUN LAMAR TRENT,
  a/k/a Da Da, a/k/a Six; PHILLIP DAEKWON MILES, a/k/a R, a/k/a Sammy; SHABBA
  LARUN CHANDLER, a/k/a Trill; ASHLEY TIANA ROSS, a/k/a First Lady; TENIKQUA
  FULLER, a/k/a Fuller

                Defendants - Appellees

                                        ___________________

                                             ORDER
                                        ___________________

         Upon consideration of the motion to voluntarily dismiss this case pursuant to Rule 42(b)

  of the Federal Rules of Appellate Procedure, and there appearing no opposition, the court grants

  the motion.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




Case 4:18-cr-00011-MFU-RSB Document 688 Filed 08/30/19 Page 1 of 1 Pageid#: 3633
